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 6
 7                         UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9                                  WESTERN DIVISION
10
     KAYLA M. WOOD,                                  Case No. 2:21-cv-08601-JFW-JC
11
12                 Plaintiff,                     DEFENDANT’S NOTICE OF NON-
13
                                                  OPPOSITION TO PLAINTIFF’S
     vs.                                          MOTION TO AMEND
14                                                COMPLAINT
15   I.Q. DATA INTERNATIONAL,
     INC.,                                        HEARING DATE:       March 7, 2022
16                                                HEARING TIME:       1:30 p.m.
                                                  JUDGE:              Hon. John F. Walter
17                Defendant.
                                                  COURTROOM:          7A
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            Pursuant to L.R. 7-9 and Paragraph 5(g) of this Court’s Standing Order,
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      Defendant, I.Q. Data International, Inc. (“Defendant”), though undersigned counsel,
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      hereby submits its Notice of Non-Opposition to Plaintiff’s Motion to Amend
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      Complaint (“Motion to Amend”). Notice is hereby given that Defendant does not
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      oppose: (1) the granting of Plaintiff’s Motion to Amend; (2) vacating the February 7,

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      2022 hearing on Defendant’s Motion to Dismiss as moot; and (3) the striking of the

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      briefing schedule associated with Defendant’s Motion to Dismiss as moot.

27          As stated in the Motion to Amend, Plaintiff’s Proposed Amended Complaint

28    shall withdraw the FDCPA and RFDCPA claims that are the subject of Defendant’s
                                            1          Defendant’s Notice of Non-Opposition to
                                                        Plaintiff’s Motion to Amend Complaint
                                                              Case No. 2:21-cv-08601-JFW-JC
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 1    Motion to Dismiss. Notwithstanding, notice is hereby given that Defendant has been
 2    prejudiced by Plaintiff’s failure to participate in the L.R. 7-3 conference held in
 3    advance of filing the Motion to Dismiss, which would have alleviated Defendant’s
 4    need to the subject motion, the subsequent procedural motions necessary to rectify the
 5    deficiencies in Plaintiff’s Complaint and accomplish the amendment Plaintiff is now
 6    seeking, and the attorneys’ fees that resulted from having to take the aforementioned
 7    actions. Based on the foregoing, Defendant asserts that sanctions against Plaintiff in
 8    the amount of Defendant’s attorney’s fees and costs incurred in filing its Motion to
 9    Dismiss and any attorney’s fees this Court may award related to the Court’s Order to
10    Show Cause as to the Court’s contemplated sanctions against Plaintiff are appropriate
11    in light of the failure to participate in the L.R. 7-3 conference.
12           RESPECTFULLY SUBMITTED this 3rd day of February 2022.
13                         CARPENTER, HAZLEWOOD, DELGADO & BOLEN, LLP
14
                                  By:    /s/ Michelle B. Wellnitz
15                                       Michelle B. Wellnitz, Esq.
                                         1400 E. Southern Avenue, Suite 400
16
                                         Tempe, Arizona 85282
17                                       Attorneys for Defendant I.Q. Data International, Inc.
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                                 CERTIFICATE OF SERVICE

20           I hereby certify that on February 3, 2022 I electronically transmitted the

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      attached document to the Clerk’s Office using the CM/ECF System for filing and

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      transmittal of a Notice of Electronic Filing to the following registrants:

23           Nicholas M. Wajda
24           Wajda Law Group, APC
             6167 Bristol Parkway
25           Suite 200
26           Culver City, California 90230
             Attorneys for the Plaintiff
27
28
                                               2          Defendant’s Notice of Non-Opposition to
                                                           Plaintiff’s Motion to Amend Complaint
                                                                 Case No. 2:21-cv-08601-JFW-JC
     Case 2:21-cv-08601-JFW-JC Document 37 Filed 02/03/22 Page 3 of 3 Page ID #:210



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 6    By: /s/ Theresa Laubenthal
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                                         3       Defendant’s Notice of Non-Opposition to
                                                  Plaintiff’s Motion to Amend Complaint
                                                        Case No. 2:21-cv-08601-JFW-JC
